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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

David Ryniec, et al.
                                Plaintiff,
v.                                                    Case No.: 1:19−cv−00399
                                                      Honorable Steven C. Seeger
Gurpreet Pooni, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 26, 2021:


        MINUTE entry before the Honorable Steven C. Seeger: The Court reviewed the
status report (Dckt. No. [55]), which revealed that the parties have reached a settlement
and have entered into a settlement agreement. Plaintiffs received payment. Plaintiffs'
counsel is negotiating liens against his clients' claims. That issue presumably is between
Plaintiffs' counsel and Plaintiffs, not between Plaintiffs and Defendants. Plaintiffs and
Defendants have settled. The case is closed. Civil case terminated. Mailed notice. (jjr, )




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